Case 2:17-cv-06882-MWF-AS Document 135-1 Filed 08/08/22 Page 1 of 3 Page ID #:3774




    1 Peter Anderson, Esq. (Cal. Bar No. 88891)
             peteranderson@dwt.com
    2 Sean  M.  Sullivan, Esq. (Cal. Bar No. 229104)
             seansullivan@dwt.com
    3 Eric H. Lamm, Esq. (Cal. Bar No. 324153)
             ericlamm@dwt.com
    4 D AVIS WRIGHT TREMAINE LLP
      865 South Figueroa Street, 24th Floor
    5 Los Angeles, California 90017-2566
      Telephone: (213) 633-6800
    6 Fax: (213) 633-6899
    7 Attorneys for Defendants
    8 J. Douglas Baldridge, Esq.
            jbaldridge@venable.com
    9 Katherine Wright Morrone, Esq.
            kwmorrone@venable.com
   10 VENABLE LLP
      600 Massachusetts Avenue NW
   11 Washington, DC 20001
      Telephone: (202) 344-4000
   12 Fax: (202) 344-8300
   13 Attorney for Defendant
      TAYLOR SWIFT
   14
   15                        UNITED STATES DISTRICT COURT
   16                      CENTRAL DISTRICT OF CALIFORNIA
   17                               WESTERN DIVISION
   18 SEAN HALL, etc., et al.,                 )   Case No. 2:17−cv−06882 MWF (ASx)
   19                                          )
                   Plaintiffs,                 )
   20        vs.                               )   DEFENDANTS’ MEMORANDUM OF
                                               )   POINTS AND AUTHORITIES IN
   21 TAYLOR SWIFT, etc., et al.,              )   SUPPORT OF ALTERNATIVE
                                               )   MOTION FOR PARTIAL SUMMARY
   22              Defendants.                 )   JUDGMENT
   23                                          )
                                               )   Date: September 29, 2022
   24                                              Time: 10:00 a.m.
   25
                                                         Courtroom of the Honorable
   26                                                      Michael W. Fitzgerald
                                                         United States District Judge
   27
   28
Case 2:17-cv-06882-MWF-AS Document 135-1 Filed 08/08/22 Page 2 of 3 Page ID #:3775




    1                 MEMORANDUM OF POINTS AND AUTHORITIES
    2 1.      SUMMARY OF ARGUMENT
    3         Defendants are concurrently moving for Summary Judgment on the grounds
    4 that Plaintiffs lack standing to assert the alleged copyright infringement claim, that
    5 there is no genuine dispute that the creators of Shake It Off did not copy Playas Gon’
    6 Play (“Playas”), and that, in any event, the alleged copying—which is disputed—is
    7 within the fair use doctrine. If for any reason that Motion is not granted, Defendants
    8 move in the alternative for Partial Summary Judgment as to the following two issues.
    9 2.      IF SUMMARY JUDGMENT IS NOT GRANTED, PARTIAL
   10         SUMMARY JUDMGENT IS APPROPRIATE
   11         (a)    Universal Music Group, Inc., Has Nothing to Do with Shake It Off
   12         There is no genuine dispute that defendant Universal Music Group, Inc.
   13 (“UMGI”) does not own or exploit Shake It Off. Facts 514-18. As a result, UMGI
   14 cannot be liable for the alleged copyright infringement.            Perfect 10, Inc. v.
   15 Amazon.com, Inc., 508 F.3d 1146, 1159 (9th Cir. 2007) (copyright infringement claim
   16 requires, inter alia, proof the defendant “violate[d] at least one exclusive right granted
   17 to copyright holders under 17 U.S.C. § 106”). Since Plaintiffs have declined to
   18 dismiss UMGI from this case, it is entitled to partial summary judgment and, pursuant
   19 to Federal Rule of Civil Procedure 54(b), a final judgment in its favor.
   20         (b)    Plaintiffs’ Damages Are Limited to Their Ownership Interests
   21         Should the Court permit Plaintiffs’ claim to proceed, the Court should limit any
   22 recovery to their proportionate ownership of Playas. That is so because a co-owner’s
   23 “recovery in a copyright case is ‘confined to [its] own part; that is to say, to its own
   24 actual damages, to its proper share of any statutory damages, and to its proper share
   25 of the profits.’” Manno v. Tennessee Prod. Ctr., Inc., 657 F. Supp. 2d 425, 432
   26 (S.D.N.Y. 2009) (quoting Edward B. Marks Music Corp. v. Jerry Vogel Music Co.,
   27 140 F.2d 268, 270 (2d Cir. 1944)); Skidmore v. Led Zeppelin, No. CV 15–3462, 2016
   28

                                                   1
Case 2:17-cv-06882-MWF-AS Document 135-1 Filed 08/08/22 Page 3 of 3 Page ID #:3776




    1 WL 1442461 at *17 (C.D. Cal. Apr. 8, 2016); Botts v. Kompany.com, No. SACV 09-
    2 00195, 2013 WL 12137690 at *2 (C.D. Cal. Apr. 10, 2013).
    3         Mr. Hall and Mr. Butler have conceded that, by transferring a half or more of
    4 their copyright interests to their music publishers, they retain only a 16 2/3% and 25%
    5 ownership interest, respectively, in Playas. Facts 517-19. Accordingly, they are
    6 limited to 41 2/3% of any recovery.
    7 3.      CONCLUSION
    8         If Summary Judgment is not granted, Defendants respectfully submit that the
    9 alternative Motion for Partial Summary Judgment is properly granted.
   10
   11 Dated: August 8, 2022                                /s/ Peter Anderson
   12                                                     Peter Anderson, Esq.
                                                         Sean M. Sullivan, Esq.
   13                                                      Eric H. Lamm, Esq.
                                                      DAVIS WRIGHT TREMAINE LLP
   14                                                  Attorneys for Defendants
   15
                                                       J. Douglas Baldridge, Esq.
   16                                                Katherine Wright Morrone, Esq.
                                                            VENABLE LLP
   17                                                   Co-counsel for Defendant
                                                           TAYLOR SWIFT
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                 2
